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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

In re:

ISAAC K. AMANKWAH,                                     Bankr. Case No. 18-13848-BFK

                 Debtor.                                           Chapter 7


JOHN P. FITZGERALD, III,
United States Trustee
For Region Four,

                 Movant,
          v.

ISAAC K. AMANKWAH,

                 Respondent.

                       NOTICE OF MOTION AND NOTICE OF HEARING

       The United States Trustee has filed a motion to dismiss this case for abuse under 11
U.S.C. § 707(b)(1).

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

        If you do not wish the court to grant the relief sought in the motion, or if you want the
court to consider your views on the motion, then on or before, March 5, 2019 you or your
attorney must:

■                File with the court, at the address shown below, a written response with
                 supporting memorandum as required by Local Bankruptcy Rule 9013-1(H).
                 Unless a written response and supporting memorandum are filed and served
                 by the date specified, the Court may deem any opposition waived, treat the
                 motion as conceded, and issue an order granting the requested relief without
                 further notice or hearing. If you mail your response to the court for filing, you
                 must mail it early enough so the court will receive it on or before the date stated
                 above. You must also mail a copy to the persons listed below.

Office of United States Trustee
Joseph A. Guzinski, Asst. U. S. Trustee
1725 Duke Street, Suite 650
Alexandria, VA 22314
(703) 557-7274
joseph.a.guzinski@usdoj.gov
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■              Attend the hearing scheduled to be held on March 12, 2019 @ 9:30 o’clock a.m.
               in Courtroom No. 1, United States Bankruptcy Court, 200 South Washington
               Street, Alexandria, Virginia 22314. If no timely response has been filed
               opposing the relief requested, the court may grant the relief without holding
               a hearing.

■              A copy of any written response must be mailed to the following persons:

                                      United States Trustee for Region 4
                                      1725 Duke St., Suite 650
                                      Alexandria, VA 22314

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or objection and may enter an order granting that relief.

January 28, 2019                                     JOHN P. FITZGERALD, III
                                                     ACTING U.S. TRUSTEE, REGION 4


                                                     By: /s/ Joseph A. Guzinski
                                                         Joseph A. Guzinski
                                                         Asst. United States Trustee
                                                         Office of United States Trustee
                                                         1725 Duke Street, Suite 650
                                                         Alexandria, VA 22314
                                                         (703) 557-7274




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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 28, 2019, I electronically filed the foregoing with the
Clerk of the Court and, under Fed. R. Bankr. 9036 and CM/ECF Policy 9, served it on the parties
listed below who are registered Users of the of the CM/ECF system, by the Notice of Electronic
filing generated by the Court’s ECF system; and upon all the parties listed below, by first class
mail, postage prepaid.



       Isaac K. Amankwah
       7940 Bethelen Woods Lane
       Springfield, VA 22153
       Debtor/Respondent

       Lois Ilaine Upton
       Upton Law Firm
       7369 McWhorter Place Suite 412
       Annandale, VA 22003
       uptonbknotices@gmail.com
       Counsel for Debtor/Respondent

       Janet M. Meiburger
       The Meiburger Law Firm, P.C.
       1493 Chain Bridge Road, Suite 201
       McLean, VA 22101-5726
       trustee@meiburgerlaw.com
       Chapter 7 Trustee

                                                           /s/ Ilene Sims
                                                           Ilene Sims
                                                           Legal Assistant




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